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“es UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
JACOB STRINGER DOCKET NO. 2:15 cv 1408
VERSUS JUDGE JAY C. ZAINEY - DIV. A
JESSIE JUBAN, EXPERT AUTO MAG. KAREN WELLS ROBY — SEC. 4

TRANSPORT, LLC AND WESTERN
WORLD INSURANCE COMPANY

JESSE JUBAN’S ANSWERS TO PLAINTIFF’S INTERROGATORIES AND
REQUESTS FORPRODUCTION OF DOCUMENTS

NOW INTO COURT, through undersigned counsel, comes defendant, Jesse Juban, who
tesponds to plaintiff's Interrogatories and Request for Production of Documents as follows:

INTERROGATORIES

 

INTERROGATORY NO. 1:
Please state:
a) Your full name;
b) Date of birth;
c) Place of birth:
d) Residence address for the past three (3) years;
e) Social Security number;
f) Driver's license number, classifications and any restrictions; and

g) All cellular phone number(s) both person and business at the time of the accident

and the carrier(s) of said phones.

PLAINTIFF’S
EXHIBIT

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ANSWER TO INTERROGATORY NO. 1:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objections, Jesse Eugene
Juban was born on August 22, 1979 and resides at 12717 Amold Street in Walker, Louisiana
70785. Mr. Juban holds a Class A Louisiana driver’s license, bearing number 6752845, with no
restrictions. The last four digits of Mr. Juban’s Social Security number are xxx-xx-4375. Mr.
Juban cell phone number is (225) 572-9364. Defendant reserves the right to supplement and
amend this response as discovery progresses.

INTERROGATORY NO. 2:

State the name and address of the owner and all occupants of the vehicle that you were

operating at the time of the accident in question.

ANSWER TO INTERROGATORY NO. 2:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objections, as per the
Uniform Motor Vehicle Traffic Crash Report, numbered 20140028997, Expert Auto Transport,
LLC owned the 2014 Peterbuilt tractor and trailer that Mr. Juban was operating at the time of the
incident. Mr. Juban was the only occupant of the vehicle at the time of the incident. Defendant
reserves the right to supplement and amend this response as discovery progresses.
INTERROGATORY NO, 3:

State the name and address of all persons known to you, or to your attorneys, who witnessed
the accident in question or who came upon the scene of the accident after its occurrence, or who

have or purport to have any knowledge regarding the facts and circumstances surrounding the

happening of the incident in question.

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ANSWER TO INTERROGATORY NO. 3:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objections, defendant
believes the following individuals either witnessed or possess information regarding our
incident: Jacob Stringer, Kathy Stringer, Jessie Juban, Russell Williams, Debra Williams, Jeffrey
Williams, Sarah Williams, Josh Simmons, TJ Christenson, Tyler Mora, Taylor Mitchum, Blake
Tomlin, Greg Roberts, Matt Little, Frontier Adjusters of San Antonio claims adjuster Rafael
Mogollan, Investigating Officer Thomas Noto of St. Tammany Parish, and the plaintiff's
treatment providers. Defendant is also aware of an unknown third party who claims to have
witnessed our incident. It is our understanding that the identity of this individual was recently

determined to be Davis Moore. Defendant reserves the right to supplement and amend this

response as discovery progresses.
INTERROGATORY NO. 4:

Were any statements, written or otherwise, obtained from anyone interviewed or questioned
by or on behalf of defendant in connection with the accident and injuries sued on? If so, by whom
(providing the name and address) each such statement was obtained and from whom (providing
name and address) each such statement was obtained.

ANSWER TO INTERROGATORY NO. 4:

Objection. Any such statements would have been taken in anticipation of litigation; and
as such, they would not be discoverable under La. CCP Art. 1424, except for statements from the
plaintiff. Defadant further objects as this interrogatory seeks to gather information taken in

anticipation of litigation and material protected by attorney client privilege. Subject to and
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without waiving said objection, defendant is only aware of those statements made to Officer
Thomas Noto within the Uniform Motor Vehicle Traffic Crash Report, numbered 20140028997.
Further, upon present information and belief, defendant believes Mr. Rafael Mogollan of
Frontier Adjusters of San Antonio interviewed Mr. Russell Williams and Mr. Jesse Juban during
his investigation of the matter. The deposition of Jacob Stringer was taken on January 15, 2016.
Defendant reserves the right to supplement and amend this response as discovery progresses.
INTERROGATORY NO. 5:

Please state the names and addresses of any and all witnesses whom you plan to call upon

the trial of this matter, providing a brief summary of the facts or allegations which you intend to

establish thereby.
ANSWER TO INTERROGATORY NO. 5:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objections, defendant
may call the following individuals as witnesses in the trial of this matter: Jacob Stringer, Kathy
Stringer, Jessie Juban, Russell Williams, Debra Williams, Jeffrey Williams, Sarah Williams, Josh
Simmons, TJ Christenson, Tyler Mora, Taylor Mitchum, Blake Tomlin, Greg Roberts, Matt Little,
Frontier Adjusters of San Antonio claims adjuster Rafael Mogollan, Investigating Officer
Thomas Noto of St. Tammany Parish, Cindy Page of JD Martin Co., a representative of Anixter
International, and the plaintiff's medical treatment providers. Further, defendant reserves the
right to call an IME physician, an expert in accident reconstruction, and/or an economist.
Defendant will also call any witness for purposes of impeachment and will identify same in
accordance with the Court’s scheduling order. Defendant reserves the right to supplement and

amend this response as discovery progresses.
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INTERROGATORY NO. 6:
Please state whether or not any photograph(s), blueprint(s), diagram(s), and/or any other
type of drawing(s) or sketch(es) was/were made, taken, or prepared by you or on your behalf of the

accident scene, the surrounding area and/or any of the vehicles involved; if so, please state:

a) When any such was/were made, taken or prepared;
b) The name and address of each party who made, took or prepared any of same; and
c) The name and address of each party who presently has possession of same.

ANSWER TO INTERROGATORY NO. 6:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objection, defendant is
in possession of sixteen photographs of the plaintiff's vehicle taken by Mr. Rafael Mogollan on
September 4, 2014. Mr. Fuban took photographs following the alleged accident of the vehicles
involved, but is not currently in possession of same. Defendant reserves the right to supplement
and amend this response as discovery progresses.

INTERROGATORY NO. 7:

Please state whether within the past ten (1 0) years you have ever been convicted of or plead
guilty to the violation of any Federal and/or State Criminal Statute (whether felony or misdemean-
or). If so, give the date, court and case number in which any such conviction or guilty plea was
entered and the statute to which you plead guilty or the violation of which you were convicted.
ANSWER TO INTERROGATORY NO. 7:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and

premature as discovery is ongoing. Subject to and without waiving said objections, upon present
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information and belief, defendant has not been convicted of a felony or crime involving
dishonesty in the past ten years. Defendant reserves the right to supplement and amend this
response as discovery progresses.

INTERROGATORY NO. 8:

In connection with the accident in question, were you cited for the violation of any state
statute, municipal and/or parish ordinance? If so, state the violation with which you were cited, the
court in which any legal proceedings were instituted and the case number and disposition of any
such case, charge or citation.

ANSWER TO INFERROGATORY NO. 8:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objections, as per the
Uniform Motor Vehicle Traffic Crash Report, numbered 20140028997, Mr. Juban was issued a
citation pursuant to La. R.S. 32:81. Defendant reserves the right to supplement and amend this
response as discovery progresses.

INTERROGATORY NO. 9:

Please state your point of departure and destination at the time of the accident in question
herein, giving the precise time of your departure, the time at which you was expected to arrive at
your destination; and the purpose of your travel.

ANSWER TO INTERROGATORY NO. 9:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objection, upon present
information and belief, Mr. Juban was transporting cars to “Don’s Wholesale” to Slidell, La on

the date of the incident. Upon present information and belief, Mr. Juban began his vehicle

 
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inspection at approximately 8:00am. Defendant reserves the right to supplement and amend this
response as discovery progresses.
INTERROGATORY NO. 10:

If the purpose of your travel as stated in Interrogatory No. 9 above was for business and/or
employment, give the name and address of the business and/or employer on whose behalf you were
traveling at the time of the accident in question herein and provide a complete description of your
errand or other business which you were expected to conduct on behalf of any such business and/or
employer on the date in question together with a brief description of your duties in your business
and/or employment.

ANSWER TO INTERROGATORY NO. 10:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objections, upon present
information and belief, Jesse Juban was within the course and scope of his employment with
Expert Auto Transport, LLC at the time of the incident. Mr. Juban was transporting cars to
“Don’s Wholesale” to Slidell, La on the date of the incident. Mr. Juban began his vehicle

inspection at approximately 8:00am. Defendant reserves the right to supplement and amend this

response as discovery progresses.
INTERROGATORY NO. 11:

Please state whether you had taken or consumed any drugs or medication of any kind within
thirty-six (36) hours immediately preceding the accident in question herein. If so, state:

a) The name of the drug or medication;

b) The dosage which you took during that period;

c) The prescribed daily dosage;
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d) The name and address of the physician who prescribed same: and
8) The purpose for which you were taking the medication.
AN SWER TO INTERROGATORY NO. 11:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objections, upon present
information and belief, defendant had not consumed any drugs or medication of any kind within
the 36 hours immediately preceding the incident. Mr. Juban underwent a drug screen after the

incident evidencing as much. Defendant reserves the right to supplement and amend this

response as discovery progresses.
INTERROGATORY NO. 12:

Please state whether you consumed any alcoholic beverage(s) within twenty-four (24) hours

immediately preceding the accident in question herein. If so, state:

a) The beverage(s) you consumed;
b) The number of beverages you consumed;
c) The location(s) where said beverage(s) was/were consumed: and

d) The period of time over which said beverage(s) was/were consumed.
ANSWER TO INTERROGATORY NO. 12:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objections, upon present
information and belief, defendant had not consumed any alcoholic beverages within the 24 hours
immediately preceding the accident. Defendant reserves the right to supplement and amend this

response as discovery progresses.

 
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INTERROGATORY NO. 13:
State the name and address of each person, including experts, having any knowledge of

relevant facts related to the collision which is the basis of this suit, the cause thereof, or the damages

resulting therefrom.
ANSWER TO INTERROGATORY NO. 13:

Please see Answer to Interrogatory No. 5.
INTERROGATORY NO. 14:

State the name and address of any potential party to this lawsuit, not already a party hereto.
ANSWER TO INTERROGATORY NO. 14:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and
premature as discovery is ongoing. Defendant further objects under La. C.C.P. Art. 1005,
affirmative defenses must be plead: or risk waiving these defenses if not plead. Defendant will
pursue all available defenses in this litigation. Defendant reserves the right to supplement and
amend this response as discovery progresses.

INTERROGATORY NO. 15:

Describe any agreement under which any insurance company and/or other entity, including
the Expert Auto Transport, LLC, may be liable to satisfy part of or all of the judgment which may
be entered in this action against you, or to indemnify or reimburse you for payments made to satisfy
the judgment, by stating the name of the insurer or entity, the policy or contract number, the named

insureds therein, and the amount of any liability coverage, whether primary, excess and/or umbrella

policies.
ANSWER TO INTERROGATORY NO. 15:

Defendant objects to this interrogatory as premature, a determination of liability will be

 
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made by the trier of fact. Subject to and without waiving said objection, Western World
Insurance Company issued a policy of commercial automobile liability insurance to Expert Auto
Transport, LLC, bearing policy number MCC0100496, and in effect from June 15, 2014 through
June 15, 2015. Said policy is the best evidence of the coverages provided therein. Defendant
reserves the right to supplement and amend this response as discovery progresses.
INTERROGATORY NO. 16:

Please state whether the defendant has taken or prepared any photographs, videos or other
visual or audio recordings of the plaintiff since the date of the incident in question. If so, please
state the name and address of each person who took or prepared such audio or visual recording and
the name and address of each person who has custody of such audio or visual recording.

ANSWER TO INTERROGATORY NO. 16:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objection, defendant is
not in possession of any photographs, video tapes, or audio recordings of the plaintiff at this
time. Defendant reserves the right to supplement and amend this response as discovery
progresses.

INTERROGATORY NO. 17:

Please describe fully your version of how the collision occurred. Your description should
include the date, time of accident, weather conditions, traffic conditions, movement of each vehicle
involved and any actions you took to avoid the collision.

ANSWER TO INTERROGATORY NO. 17:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome and

premature as discovery is ongoing. Defendant further objects to this interrogatory as it is

premature and will be determined by the experts as this matter progresses. Subject to and

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without waiving said objection, this information is available in the Uniform Motor Vehicle
Traffic Crash Report, numbered 20140028997. Subject to and without waiving said objection,
upon present information and belief, while following the Stringer vehicle in traffic on the
interstate, the vehicle ahead of Mr. Stringer’s stopped suddenly, causing Mr. Stringer to swerve
to the left to avoid a collision. Mr. Juban also slowed but was unable to successfully stop the 18
wheeler and struck the left rear bumper of the Stringer vehicle. Defendant reserves the right to
supplement and amend this response as discovery progresses.

INTERROGATORY NO. 18:

Please identify the make, model, year, weight and owner of each of the following:

a) Vehicle you were driving;

b) Trailer the airboat was on;

c) Airboat you were pulling.

ANSWER TO INTERROGATORY NO. 18:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objections, as per the
Uniform Motor Vehicle Traffic Crash Report, numbered 20140028997, Expert Auto Transport,
LLC owns the tractor and trailer that Mr. Juban was operating at the time of the incident. The
defendant was not transporting an airboat at the time of the incident. Defendant reserves the
right to supplement and amend this response as discovery progresses.

INTERROGATORY NO. 19:

For all accidents that you have been involved in within the last ten years, please give the

date, description and place of the accident. Please confirm whether you were at fault, received a

citation and/or were reprimanded by your employer as a result of the accident(s).

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ANSWER TO INTERROGATORY NO. 19:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objections, upon present
information and belief, defendant has not been involved in any prior automobile or truck
accidents within the last ten years. Defendant reserves the right to supplement and amend this
response as discovery progresses.

INTERROGATORY NO. 20:

If you were in the course and scope of your employment at the time of the accident, in
any capacity (ie., independent contractor), state the name the employer/contractor, your
position/role, length of time employed/contracted and whether you were reprimanded, written up
or received any action or suspensions etc. as a result of the accident.

ANSWER TO INTERROGATORY NO. 20:

Defendant objects to this interrogatory as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objections, upon present
information and belief, Jesse Juban was within the course and scope of his employment with
Expert Auto Transport, LLC at the time of the incident. Upon present information and belief,
Mr. Juban had been employed for the company as a truck driver and was under the supervision
of Mr. Russell Williams for two to three years prior to our incident. Defendant reserves the right

to supplement and amend this response as discovery progresses.

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REQUEST FOR PRODUCTION OF DOCUMENTS
REQUEST NO. 1:

A certified, true copy of each policy, contract and/or agreement which would afford you,
your agents, employees and/or others coverage for claims of the nature herein asserted by the
plaintiff, whether primary, excess or umbrella policies.

RESPONSE TO REQUEST NO. 1:

Defendant objects to this request as premature, a determination of liability will be made
by the trier of fact. Subject to and without waiving said objection, please see attached the policy
of commercial automobile liability insurance Western World Insurance Company issued to
Expert Auto Transport, LLC, bearing policy number MCC0100496, and in effect from June LS,
2014 through June 15, 2015. Said policy is the best evidence of the coverages provided therein.

Defendant reserves the right to supplement and amend this response as discovery progresses.

REQUEST NO. 2:

A front and back copy of Defendant’s driver's license.
RESPONSE TO REQUEST NO. 2:

Defendant objects to this request as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objection, a copy of Mr.

Juban’s driver’s license was attached to the deposition of Mr. Juban. Defendant reserves the
right to supplement and amend this response as discovery progresses.
REQUEST NO. 3:

A copy of any statement previously made by any person (whether a party or not) concerning

the instant accident or its subject matter and which is in your possession, custody or control.

For the purpose of this question, a statement previously made is (1) a
written statement signed or otherwise adopted or approved by the

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person making it, or (2) a stenographic, mechanical, electrical, or
other recording, or a transcription thereof, which is a substantially
verbatim recital of an oral statement by the person making it and
contemporaneously recorded.

RESPONSE TO REQUEST NO. 3:

Objection. Any such statements would have been taken in anticipation of litigation; and
as such, they would not be discoverable under La. CCP Art. 1424, except for statements from the
plaintiff Defendant further objects as this request seeks to gather information taken in
anticipation of litigation and material protected by attorney client privilege. Subject to and
without waiving said objection, defendant is only aware of those statements made to Officer
Thomas Noto within the Uniform Motor Vehicle Traffic Crash Report, numbered 20140028997.
Plaintiff provided us with a copy of this report with their discovery responses. As such,
defendant wili provide a copy of this teport upon specific request if it is not already in the
plaintiff's possession. Further, upon present information and belief, while taken in anticipation
of litigation, Mr. Rafael Mogollan of Frontier Adjusters of San Antonio interviewed Mr. Russell
Williams and Mr. Jesse Juban during his investigation of the matter, but no recording or
transcription of these interviews were made. The deposition of Jacob Stringer was taken on
January 15, 2016 and the deposition of Jesse Juban was taken on January 21, 2016. Defendant
reserves the right to supplement and amend this response as discovery progresses.

REQUEST NO. 4: |

Copies of any and all photographs, blueprints, diagrams, maps, drawings and/or sketches

made, taken or prepared by you or on your behalf of the accident, accident scene, the surrounding

area, persons involved, and/or any of the vehicles involved.

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RESPONSE TO REQUEST NO. 4:

Defendant objects to this request as vague, overly broad, unduly burdensome and
premature as discovery is ongoing. Subject to and without waiving said objection, please see
attached the sixteen photographs of the plaintiffs vehicle taken by Mr. Rafael Mogollan on

September 4, 2014. Defendant reserves the right to supplement and amend this response as

discovery progresses.

REQUEST NO. 5:

Copies of any and all photographs, video tapes or other audio or visual recordings of the

plaintiff since the date of the accident in question which are in the possession, custody and control

of the defendant.
RESPONSE TO REQUEST NO. 5:

Defendant objects to this request as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objection, defendant is
not In possession of any photographs, video tapes, or audio recordings of the plaintiff at this

time. Defendant reserves the right to supplement and amend this response as discovery

progresses.

REQUEST NO. 6:

A copy of the title and registration for each of the following: the vehicle you were driving;
the trail or you were pulling; and the airboat you were pulling.
RESPONSE TO REQUEST NO. 6:

Defendant objects to this request as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objection, upon present

information and belief, defendant is not in possession of documents responsive to this request at

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this time. Defendant reserves the right to supplement and amend this response as discovery
progresses.
REQUEST NO. 7:

Any and all statements or reports made by an expert witness who will or may testify in

this matter.
RESPONSE TO REQUEST NO. 7:

Defendant objects to this request as vague, overly broad, unduly burdensome, and
premature as discovery is ongoing. Subject to and without waiving said objections, defendant
has not yet retained an expert in this matter. Defendant reserves the right to supplement and

amend this response as discovery progresses.

REQUEST NO. 8:

Any and all documents that may or will be introduced during the trial of this matter.
RESPONSE TO REQUEST NO. 8:

Defendant objects to this request as overly broad, unduly burdensome and premature as
discovery is ongoing. Defendant further objects to this request as seeking documents protected
by attorney client privilege and/or prepared in anticipation of litigation. Subject to and without
waiving said objection, please see attached the sixteen photographs of the plaintiffs vehicle
taken by Mr. Rafael Mogollan on September 4, 2014; the policy of commercial automobile
liability insurance Western World Insurance Company issued to Expert Auto Transport, LLC,
bearing policy number MCC0100496, and in effect from June 15, 2014 through June 15, 2015;
the Property Damage Release dated September 18, 2014; the property damage release and
settlement check; the estimate of repairs for the plaintiff's vehicle dated September 4, 2014; the

ACV worksheet of the plaintiffs vehicle: the Expert Auto Transport, LLC invoice dated

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September 1, 2014 evidencing transport of plaintiffs vehicle from New Orleans, LA to San
Antonio, Tx; and the Enterprise receipt and rental agreement evidencing Debra William’s
payment of the plaintiff's rental car. The defendant also reserves the right to introduce any and
all of the plaintiff's medical records, including those of Family Wellness Chiropractic, Premier
Medical Imaging, Comprehensive Spine Center, Grapevine Chiropractic, MetroPlex, and Dr.
Daniel Cooper. Further, the defendant reserves the right to introduce any of the plaintiffs
employment records and/or tax returns, including those from JD Martin, Co.; Stephen F. Austin
State University; and Anixter Intemational. Defendant also reserves the right to introduce the
Uniform Motor Vehicle Traffic Crash Report, numbered 20140028997. These documents will
be provided to the plaintiff upon specific request if they are not already within the plaintiffs

possession. Defendant reserves the right to supplement and amend this response as discovery

progresses.

Defendant specifically reserves the right to supplement and amend these responses as

discovery progresses.

Respectfully submitted,

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R. Todd Musgrave, Bar No. 22840
Amanda H. Aucoin, Bar No. 31197
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1515 Poydras St., Suite 2380
~ New Orleans, LA 70112
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Attomeys for Jessie Juban, Expert Auto Transport,
LLC and Western World Insurance Company

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CERTIFICATE OF SERVICE
I hereby certify that a copy of the above and foregoing has been forwarded to all counsel

of record herein, by facsimile transmission and/or 7 on the \ day of February, 2016.

(WE

R. Todd Musgrave

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